                  UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE



UNITED STATES OF AMERICA                      )
                                              )
v.                                            )            NO. 2:03-CR-74
                                              )
SEAN BARBER                                   )


                       O R D E R APPOINTING COUNSEL

             Before the Court is defendant’s motion pursuant to 18 U.S.C. § 3582(c)

[Doc. 482], and his motion to re-appoint counsel. [Doc. 481]. It is hereby ORDERED

that the defendant’s motion to appoint counsel is GRANTED, and the Court hereby

appoints Robert L. Vogel, Esq., as counsel to assist the defendant in connection with all

proceedings related to this motion.

             In light of the Court’s appointment of counsel, the United States need not

respond to defendant’s pending motion at this time. The United States shall file its

response in accordance with the scheduling order to be issued by the Court.

             SO ORDERED.

             ENTER:


                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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